Exhibit 1
                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VICTORIA EVANOFF, as Administrator of             :    CIVIL ACTION
the ESTATE OF JOHN EVANOFF,                       :
DECEASED                                          :    No. 5:23-cv-03417-JFL
                    Plaintiff,                    :
                                                  :
    vs.                                           :
                                                  :
MARSH USA, LLC,                                   :
                                                  :
THERESE PERRETTE, and                             :
                                                  :
JOHN DOE DEFENDANTS # 1-2                         :
                                                  :
                          Defendants.             :
                 PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO
                   FEDERAL RULE OF CIVIL PROCEDURE 26(a)(1)

       Plaintiff, Victoria Evanoff, as Administrator of the Estate of John Evanoff, Deceased, by

and through her attorneys, Anapol Weiss, hereby submits the following disclosures in accordance

with Federal Rule of Civil Procedure 26(a)(1).

                                PRELIMINARY STATEMENT

       Plaintiff makes these disclosures based on the information presently known and reasonably

available to her as of the date served. Plaintiff makes the following disclosures without waiving

her right to supplement these disclosures to include information that becomes available to her at a

later date. In making these disclosures, Plaintiff does not represent that she is identifying every

individual, document or tangible thing upon which she may rely to support her claims. Plaintiff

does not waive her right to object to production or to the use in this proceeding of any document

or tangible thing on the basis of any valid privilege, including the attorney-client privilege and/or

the work product doctrine, or any other valid objection. Plaintiff reserves her right to amend or
supplement these Initial Disclosures, including removing and/or adding documents and/or

individuals identified herein, as Plaintiff continues her investigation through the discovery process.

I.     NAME, ADDRESS AND TELEPHONE NUMBER OF EACH INDIVIDUAL
       LIKELY TO HAVE DISCOVERABLE INFORMATION

           1. Plaintiff, Victoria Evanoff
              Plaintiff can be reached through undersigned counsel.

               Plaintiff has knowledge and information regarding the damages in this case.

           2. Defendant, Therese Perrette
              Defendant, Therese Perrette can be reached through defense counsel.

               Upon information and belief, Defendant, Therese Perrette has knowledge about the
               2019 Gap Assessment performed at East Penn Manufacturing Company, Inc. (“East
               Penn”).

           3. Komilla Bhatty
              Upon information and belief, Komilla Bhatty can be reached through defense
              counsel.

               Upon information and belief, Komilla Bhatty has knowledge about the 2019 Gap
               Assessment performed at East Penn.


           4. Steven Hladczuk
              Upon information and belief, Steven Hladczuk can be reached through defense
              counsel.

               Upon information and belief, Steven Hladczuk has knowledge about the 2019 Gap
               Assessment performed at East Penn.

           5. Richard Kennedy
              Upon information and belief, Richard Kennedy can be reached through defense
              counsel.

               Upon information and belief, Richard Kennedy has knowledge about the 2019 Gap
               Assessment performed at East Penn.

           6. Brian Birckbichler
              East Penn
              102 Deka Road,
              Lyon Station, PA 19536
              (610) 682-6361

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                Upon information and belief, Brian Birckbichler has knowledge about the 2019
                Gap Assessment performed at East Penn and the incident of March 2021 giving rise
                to the Complaint.

             7. Troy Greiss
                East Penn
                102 Deka Road,
                Lyon Station, PA 19536
                (610) 682-6361

                Upon information and belief, Troy Greiss has knowledge about the 2019 Gap
                Assessment performed at East Penn and the incident of March 2021 giving rise to
                the Complaint.

       Plaintiff anticipates that additional individuals with knowledge supporting her claims will

be identified as discovery progresses. Plaintiff reserves the right to supplement this disclosure as

necessary.

II.    DOCUMENTS, ELECTRONICALLY STORED INFORMATION, AND
       TANGIBLE THINGS PLAINTIFF MAY USE TO SUPPORT HER CLAIMS OR
       DEFENSES

       1. The January 2019 Statement of Work.
       2. The Occupational Safety and Health Act (“OSHA”) Report from the March 2021
          incident.
       3. All documents relating to the March 2021 incident.
       4. Communications between Defendants and East Penn regarding the 2019 Gap
          Assessment performed at East Penn.
       5. Communications between Defendants and East Penn regarding the March 2021
          incident.
       6. All documents produced by Plaintiff or Defendants, including those documents
          produced when this action was pending in the Court of Common Pleas of
          Philadelphia County, Pennsylvania.
       7. All documents discovered through subpoenas to a third party, including East Penn,
          regarding the March 2021 incident.

       Plaintiff anticipates additional records, documents, data compilations and tangible things

supporting her claims will be identified as discovery progresses. Plaintiff reserves the right to

supplement this disclosure as necessary.




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III.   COMPUTATION OF DAMAGES CLAIMED BY PLAINTIFF

       1. Compensatory damages, costs and disbursements in this action, including reasonable

          attorneys’ fees, as permitted by law;

       2. Pre-judgment and post-judgment interested, as provided by law; and

       3. Such other relief as may be appropriate under the circumstances.

       Plaintiff reserves the right to supplement this disclosure as necessary.

IV.    INSURANCE AGREEMENTS

       Not applicable.


Dated: October 6, 2023                                ANAPOL WEISS


                                                      /s/ Gabrielle I. Weiss
                                                      Sol H. Weiss (PA# 15925)
                                                      Gabrielle I. Weiss (PA # 325890)
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                                                      Attorneys for Plaintiff, Victoria Evanoff, as
                                                      Administrator of the Estate of John Evanoff,
                                                      Deceased




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of October 2023, a true and correct copy of the Rule

26(a)(1) Initial Disclosures was served on defense counsel via electronic mail.


                                                    /s/ Gabrielle I. Weiss
                                                    Gabrielle I. Weiss, Esquire
